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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
RYAN PFILPSEN, )
)
Plaintiff, )
) CIVIL ACTION
VS. )
) FILE No. 5:19-cv-1437-RBF
BE RIOS, LTD.., d/b/a )
RIOS CRYSTAL MALL, )
)
Defendants. )

AMENDED JOINT STIPULATION TO APPROVE CONSENT DECREE
AND TO DISMISS DEFENDANTS WITH PREJUDICE

Plaintiff, Ryan Pflipsen (“Plaintiff”) and Defendant, Be Rios, LTD., d/b/a Rios Crystal
Mall, hereby file this Amended Joint Stipulation seeking the Court’s Approval of the parties’
Consent Decree and to Dismiss Defendant, BE RIOS, LTD., d/b/a RIOS CRYSTAL MALL,
with Prejudice:

1. Plaintiff filed the instant cause of action alleging that the Property operated
and/or owned by Defendants violated Title III of the Americans with Disabilities Act, 42
U.S.C. § 12181 et seq.

2. The matters raised by Plaintiff's Complaint have been resolved in accordance
with the Consent Decree (“Settlement”) attached hereto as Exhibit “1”.

3. In accordance therewith, the Parties request that the Court review, approve and
ratify the Consent Decree. Additionally, the Parties request the Court retain jurisdiction to
enforce the terms of the Settlement for a period of no longer than twelve (12) months from

the date of the Court’s approval. This Settlement is conditioned upon the Court’s retaining

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jurisdiction to enforce said Settlement.

4, As part of the Settlement reached between the Parties, Plaintiff has agreed to
dismiss Defendant, BE RIOS, LTD., d/b/a RIOS CRYSTAL MALL, with prejudice.
Accordingly, the Parties request, upon the Court’s review, approval and ratification of the
Settlement, Defendant, BE RIOS, LTD., d/b/a RIOS CRYSTAL MALL, be dismissed with
prejudice.

+e Except as otherwise stated in the Settlement, each party to bear their own fees

and costs.

WHEREFORE, the Parties respectfully request that this Honorable Court enter an
Order approving the attached Consent Decree, dismissing the claims asserted by Plaintiff
against Defendant, BE RIOS, LTD., d/b/a RIOS CRYSTAL MALL, with prejudice, and
retaining jurisdiction to enforce the Settlement.

Respectfully submitted this 24" day of May, 2021.

Respectfully submitted,

/s/ Dennis R. Kurz

Dennis R. Kurz
Attorney-in-Charge for Plaintiff
Texas State Bar ID No. 24068183
Kurz Law Group, LLC

4355 Cobb Parkway, Suite J-285
Atlanta, GA 30339

Tele: (404) 805-2494

Fax: (770) 428-5356
dennis@kurzlawgroup.com

/s/_ Benjamin F. Youngblood, III, Esq.
Benjamin F. Youngblood, III, Esq.
Attorney-in-Charge for Defendant

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Texas State Bar ID No. 22213700
130 East Travis Street, Suite 530
San Antonio, Texas 78205

(210) 308-9829 Phone

(210) 308-9854 Facsimile

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EXHIBIT “1”
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
RYAN PFLIPSEN, )
)
Plaintiff, )
) CIVIL ACTION
VS. )
) FILE No. 5:19-cv-1437-RBF
BE RIOS, LTD., d/b/a )
RIOS CRYSTAL MALL, )
)
Defendant. )

CONSENT DECREE

This Consent Decree (this “Agreement”) is made and entered into by and
between Ryan Phlipsen referred to in this Agreement as (“Plaintiff”) and BE
RIOS, LTD., d/b/a RIOS CRYSTAL MALL (“Defendant”). The signatories to
this Agreement will be referred to jointly as the “Parties.” This Agreement is
made as a compromise between the Parties for the complete and final settlement
of their claims, differences, and causes of action with respect to the dispute
described below.

Preamble

WHEREAS, on or about December 12, 2019, Plaintiff filed an action in
the United States District Court for the Western District of Texas, entitled Ryan
Phlipsen v. Be Rios, LTD., d/b/a Rios Crystal Mall, Case No: 5:19-cv-1437-RBF
(the “Action”), wherein Plaintiff asserted claims for injunctive relief against
Defendant based upon purported violations of Title III of the Americans with
Disabilities Act, 42 U.S.C. 12181, et seg. (“ADA”) and related claims for relief
respecting the real property located at or about 5714 Evers Road, San Antonio,
TX 78238, Bexar County Property Appraiser’s Parcel ID: 218924 (the
“Facility”);

WHEREAS, the Parties desire to compromise and fully and finally
resolve and settle all actual and potential claims or litigation between them, to
avoid the uncertainty, time and expense that would accompany such litigation;

WHEREAS, the Parties have agreed to enter into this Agreement pursuant
to which each and every claim and/or cause of action asserted or that could have
been asserted by Plaintiff against Defendant shall be fully, forever, and finally
released; and

NOW, THEREFORE, in consideration of the covenants and mutual
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promises and agreements contained herein, and other valuable consideration, the
sufficiency of which is hereby acknowledged, the Parties agree as follows:

1. Attorney’s Fees and Costs

1.1 Plaintiff and Defendant shall execute this Agreement and Plaintiff's
counsel, Dennis R. Kurz, Esq., Kurz Law Group, LLC shall prepare a Joint
Stipulation to Approve Consent Decree and Dismissal of Defendant with
Prejudice to be distributed to all Parties for execution. Defendant agree to pay a
total settlement amount of $4,800.00 comprising of attorney’s fees and costs of
$4,500.00 and a reinspection fee of $300.00 (the “Settlement Payment’). All
payments shall be made payable to “Kurz Law Group, LLC,” with an
indication that the check is issued “in settlement of Case No. 5:19-cv-1437-
RBF.

1.2 Upon delivery to Plaintiff's Counsel of the fully executed
Agreement and payment due with the executed Agreement referenced in 1.1 above
Plaintiff shall promptly file the Joint Stipulation to Approve Consent Decree and
Dismissal of Defendant with Prejudice, attaching a copy of the fully executed
Agreement and proposed order of dismissal with prejudice.

1.3 Plaintiff agrees to take any and all additional steps required to obtain
dismissal of the Action as set forth above. Except as set forth herein, each Party
shall be responsible for payment of his or its own litigation expenses, costs and
attorneys’ fees.

1.4 Plaintiff and Plaintiff's Counsel acknowledge and agree that they are
solely and entirely responsible for the payment and discharge of all federal, state,
and local taxes, if any, that may, at any time, be found to be due upon or as a result
of the Payment hereunder. Plaintiff and Plaintiff's Counsel, and each of them,
expressly acknowledge that Defendant has not made any representations regarding
the tax consequences of any Payment received pursuant to this Agreement.

1.5. The Parties agree that a condition precedent for the validity of this
Agreement is the Court’s retaining jurisdiction to enforce the Agreement.

 
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2. Alterations or Modifications to the Facilities

2.1 The Parties hereto acknowledge and stipulate that Defendant shall
modify or alter the items expressly identified by and in the manner specified in
Exhibit “A.” The repairs or modifications identified in Exhibit “A” shall be
completed in all respects no later than twenty four (24) months from the effective
date of the execution of this Agreement, which shall be the date indicated by the
last signatory to the Agreement. The time period for Completion by Defendant
shall be subject to acts of God, force majeure, or events beyond the control of
Defendant, such as inability to obtain building or zoning permits, failure of the
city/county or state inspectors to make inspections, city/county/state work on
adjacent roadways/sidewalks which delay implementation of this Agreement,
contractor defaults or work stoppages. In the event of such unforeseen
circumstances, the time period for completion of the alterations or modifications
in Exhibit “A” shall be extended by the number of days reasonably attributable
to such delay-causing event as long as Defendant provides notice to Plaintiff's
Counsel prior to the original completion date set forth above.

2.2 Upon completion of the removal of the barriers and the alterations
and modifications set forth in Exhibit “A”, Defendant shall provide written notice
by certified or registered mail or via e-mail to Plaintiff's Counsel.

2.3 Right to Inspection: The Parties stipulate that after Plaintiff's
Counsel receives notice of the completion of the alterations or modifications
described in Exhibit “A” or after the elapse of the twenty four (24) month time
period set forth in Section 2.1 above, whichever is sooner, Plaintiff may inspect
the Facility to ensure that Defendant has completed the repairs or modifications
described in Exhibit “A.” Defendant shall provide Plaintiff or their representative
reasonable access to the Facility to verify completion of the work described in
Exhibit “A.”

2.4 If an inspection contemplated herein reveals that any of the
alterations or modifications described in Exhibit “A” have been performed in a
manner that does not materially comply with Exhibit “A,” Plaintiff shall have the
right to enforce this Agreement pursuant to Section 3.1.

2.5 It is agreed by all parties that if and upon all of the above
modifications being completed as set forth in Exhibit “A,” the Facility will be
fully compliant with the ADA pursuant to the readily achievable standard.

2.6 The parties agree that the complaint provisions and modifications and

alterations described in Exhibit "B" are Structurally Impracticable due to the
unique characteristics of the property as defined in 28 CFR Sec.36.401.

3. Enforcement Provisions

 
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3.1 In the event the alterations and modifications described in Exhibit
“A” are not completed in the manner and time frame set forth in this Agreement,
Plaintiff shall be entitled to file an action to obtain specific performance against
Defendant or otherwise enforce the requirements of this Agreement. In any action
to enforce this Agreement, the parties agree Defendant’s failure to timely modify
the property pursuant to Section 2.1 above is a material breach of the Agreement.

4, Compromise

4.1 The Parties agree and acknowledge that this Agreement is the result
of a compromise and shall never be construed as an admission of any liability,
wrongdoing, or responsibility on the part of the Released Parties (as defined in
Section 5.1 below). The Released Parties expressly deny any such liability,
wrongdoing, or responsibility.

5. Mutual Release

5.1 In exchange for the good and valuable consideration set forth herein
the sufficiency of which is hereby acknowledged, the Parties hereto mutually
release each other, or through their corporate capacity, agents, employees, family
members, partners, successors, assigns, and heirs, along with anyone claiming by
or through them, jointly and severally (collectively the “Releasing Parties”) hereby
release, acquit, satisfy and discharge the other, and along with any and all of their
predecessors, agents, employees, assigns, heirs, officers, directors, shareholders,
members, affiliated entities, and any entity or person related to them, jointly and
severally, (hereinafter the “Released Parties”) from any and all claims, demands,
liabilities, debts, judgments, damages, expenses, actions, causes of action or suits
of any kind which the Releasing Parties may have, may have had, or may hereafter
raise against the Released Parties, including but not limited to this subject
litigation arising under Title III of the ADA including all claims by the Releasing
Parties for attorneys’ fees and costs, expert fees, litigation expenses, or any other
amount, fee, and/or cost, with the exception of the attorneys’ fees and costs
required to be paid by the Defendant pursuant to Paragraph 1 of this Agreement
and any attorney’s fees and costs incurred in the any future enforcement of this
Agreement. This Release is strictly limited to the Facility.

5.2 As a material inducement for Defendant to enter into this
Agreement, Plaintiff represents and warrants that he is not aware of any pending
tort, contract, or other legal claims against Defendant, other than the specific
claims brought in this Action under Title III of the ADA, which are released under
this Agreement.

5.3 Plaintiff represents and warrants that no portion of any of the matters
released by this Agreement and no portion of any recovery or settlement to which
they might be entitled have been assigned or transferred to any other person, firm,

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or corporation not a Party to this Agreement, in any manner, including by way of
subrogation or operation of law or otherwise.

6. Notice

6.1 Unless otherwise provided in this Agreement or by law, all notices
or other communications required or permitted by this Agreement or by law to be
served on or delivered to any Party to this Agreement shall be delivered as
follows:

To Defendant:

BE RIOS, LTD., d/b/a RIOS CRYSTAL MALL
c/o Benjamin F. Youngblood, III, Esq.

Texas State Bar No. 22213700

130 East Travis Street, Suite 530

San Antonio, Texas 78205

Phone (210) 308-9829

bf rodigy.net

To Plaintiff:

RYAN PHLIPSEN

c/o Dennis R. Kurz, Esq.

Texas State Bar No. 24068183
KuRz Law Group, LLC

4355 Cobb Parkway, Suite J-285
Atlanta, GA 30339

(404) 805-2494 Phone
dennis@kurzlawgroup.com

6.2. A Party may change such address for the purpose of this paragraph
by giving timely written notice of such change to all other Parties to this
Agreement in the manner provided in this paragraph.

7. Free Will

7.1. The Parties acknowledge that each has had an opportunity to consult
with counsel of their own choosing concerning the meaning, import, and legal
significance of this Agreement, and that each has done so to the extent desired. In
addition, the Parties acknowledge that they each have read this Agreement, as
signified by their signatures hereto, and are voluntarily executing the same after
having had the opportunity to seek the advice of counsel for the purposes and
consideration herein expressed.

 
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8. Miscellaneous Terms and Conditions

8.1 This Agreement contains the complete settlement agreement
between the Parties. Any and all prior agreements, representations, negotiations,
and understandings between the Parties, oral or written, express or implied, with
respect to the subject matter hereof are hereby superseded and merged herein.

8.2 This Agreement may be executed in counterparts or by copies
transmitted by facsimile or email, all of which shall be given the same force and
effect as the original.

8.3 This Agreement may be modified only by a written document signed
by all of the Parties. No waiver of this Agreement or of any of the promises,
obligations, terms, or conditions hereof shall be valid unless it is written and
signed by the Party against whom the waiver is to be enforced.

8.4 This Agreement shall be binding upon the Parties hereto, their
predecessors, successors, parents, subsidiaries, affiliates, assigns, agents, directors,
attorneys, officers, families, heirs, spouses, and employees.

8.5 If any provision of this Agreement shall be finally determined to be
invalid or unenforceable under applicable law by a court of competent jurisdiction,
that part shall be ineffective to the extent of such invalidity or unenforceability
only, without in any way affecting the remaining parts of said provision or the
remaining provisions of this Agreement.

8.6 The Parties acknowledge that they have reviewed this Agreement in
its entirety and have had a full opportunity to negotiate its terms, and therefore
waive all applicable rules of construction that any provision of this Agreement
should be construed against its drafter and agree that all provisions of the
Agreement shall be construed as a whole, according to the fair meaning of the
language used.

8.7 Plaintiff represents that, other than the Action, he has not filed or
authorized the filing of any complaints, charges, or lawsuits against Defendant
with any federal, state, or local court, governmental agency, or administrative
agency relating to the subject Facilities, and that if, unbeknownst to Plaintiff, such
a complaint, charge, or lawsuit has been filed on his behalf, he or it will use his or
its best efforts to cause it immediately to be withdrawn and dismissed with
prejudice.

8.8 The parties and their Counsel agree to execute any and all further
documents and perform any and all further acts reasonably necessary or useful in
carrying out the provisions and purposes of this Agreement.

8.9 In any action or other proceeding to enforce rights under this
Agreement, the prevailing Party shall recover from the losing party all attorneys’
fees, litigation expenses, and costs.

 
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8.10 The Parties agree that any ambiguities in this Agreement shall not be
construed against the drafter of the Agreement.

8.11 The Parties acknowledge that all Recitals and/or “WHEREAS”
clauses preceding paragraph 1 are imcorporated as a material part of this
Agreement.

8.12 This Agreement is entered into in, and shall be governed by and
construed and interpreted in accordance with the substantive laws of the State of
Texas.

IN WITNESS WHEREOEF, the Parties have executed this agreement as of
the date(s) set forth below:
aspect

DATED: Date

Kf f?

Ryan Phlipsen

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Tandary ~
DATED: Date ZS, 202d _—S eS
For: Defendant, Be Rios, LTD, d/b/a Rios Crystal
Mall

Title: Generel fertner

  

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EXHIBIT A

For purposes of this Agreement, “2010 ADAAG standards” refers to the ADA
Accessibility Guidelines 28 C.F.R. Pt. 36, App. A.

The following modifications are to be made by Defendant:
ACCESSIBLE ELEMENTS

(i) Near Unit 6126, the accessible parking space shall be modified to
correct excessive vertical rises and be made level or otherwise to be
brought into conformity with Sections 303.2 and 502.4 of the 2010
ADAAG standards.

(ii) Near Unit 6410, the walking surfaces of the accessible route shall be
modified to correct its slope in excess of 1:20 or to otherwise be brought
into compliance with section 403.3 of the 2010 ADAAG standards. As
the accessible route is in excess of 1:20, it shall be considered an
accessible ramp due to its total rise greater than six (6) inches, and
therefore shall have handrails installed or otherwise be brought into
compliance with section 505 of the 2010 ADAAG standards and section
405.8 of the 2010 ADAAG Standards.

(iii) Near Unit 6150, the accessible parking space shall be adequately
marked in conformity with section 502.1 of the 2010 ADAAG
standards.

(iv) Near Unit 6150, the accessible parking space and associated access

aisle shall be modified to correct its slope in excess of 1:48 or to

 
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otherwise be brought into conformity with section 502.4 of the 2010
ADAAG standards and be made level.

(v) Near Unit 6150, the access aisle to the accessible parking space shall be
made level with respect to the presence of an accessible ramp in the
access aisle or otherwise brought into compliance with section 502.4 of
the 2010 ADAAG standards. In addition, the accessible curb ramp shall
be modified to correct any improper protrusion into the access aisle of
the accessible parking space or to otherwise be brought into compliance
with section 406.5 of the 2010 ADAAG Standards.

(vi) Near Unit 6150, both sides of the accessible ramp shall include
handrails or otherwise be brought into compliance with section 505.2 of
the 2010 ADAAG standards.

(vii) Near Unit 6150, the accessible ramp leading from the accessible
parking space to the accessible entrances shall be modified to correct its
slope exceeding 1:12 or to otherwise be brought into compliance with
section 405.2 of the 2010 ADAAG standards.

(viii) (intentionally deleted)

(ix) At Unit 6158, the front door shall include proper hardware in
compliance with section 309.4 of the 2010 ADAAG standards.

(x) Near Unit 5732, publically accessible areas of the Property shall be
modified to include accessible routes with clear widths at or above the
minimum 36 (thirty-six) inch requirement as required by section 403.5.1

of the 2010 ADAAG standards, as well as Defendant modifying its
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policy of permitting shopping carts to block the accessible route such as
providing a nearby shopping cart corral as well as the placement of
nearby columns.

(xi) Near Unit 5732, the walking surfaces of the accessible route shall be
modified to correct its slope in excess of 1:20 or otherwise brought into
compliance with section 403.3 of the 2010 ADAAG standards. As the
accessible route is in excess of 1:20, it shall be considered an accessible
ramp due to its total rise greater than six (6) inches, and shall have
handrails installed in compliance with section 505 of the 2010 ADAAG
standards, as well as section 405.8 of the 2010 ADAAG Standards.

(xii) At Unit 5726, the front door shall be modified to include proper
hardware or to otherwise be brought into compliance with section 309.4
of the 2010 ADAAG standards.

(xiii) The Property shall be modified to include an accessible route from
the accessible parking space near Unit 5724 to the accessible entrance of
the Property, specifically to include a nearby ramp, or to otherwise be
brought into compliance with section 206.2.1 of the 2010 ADAAG
standards.

(xiv) Near Unit 5724, the ground surfaces of the access aisle shall be
modified to eliminate any vertical rises in excess of 4 (one quarter) inch
in height, any unstable or slip resistant surfaces, or any broken or
unstable surfaces or to otherwise be brought into compliance with

Section 302 and 303 of the 2010 ADAAG standards.
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(xv) Near Unit 5720, the walking surfaces of the accessible route shall be
modified to correct their slope in excess of 1:20 or to otherwise be
brought into compliance with section 403.3 of the 2010 ADAAG
standards. As the accessible route is in excess of 1:20, it shall be
considered an accessible ramp due to its total rise greater than six (6)
inches and, as such, shall have handrails in compliance with section 505
of the 2010 ADAAG standards, as well as section 405.8 of the 2010
ADAAG Standards.

(xvi) Near Moroccan Bites Tajine, Defendant shall modify is policy of
placing tables and a potted plant in the accessible route, such that any
publically accessible areas of the Property shall have accessible routes
with clear widths at or above the minimum 36 (thirty-six) inch
requirement as required by section 403.5.1 of the 2010 ADAAG
standards.

(xvii) Near Moroccan Bites Tajine, the access aisle to the accessible
parking space shall be made level with respect to the presence of an
accessible ramp in the access aisle or otherwise brought into compliance
with section 502.4 of the 2010 ADAAG standards. In addition, the
accessible curb ramp shall be modified to correct any improper
protrusion into the access aisle of the accessible parking space or to
otherwise be brought into compliance with section 406.5 of the 2010

ADAAG Standards.

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(xviii) Near Moroccan Bites Tajine, the accessible ramp side flares shall be
modified to correct any slope in excess of 1:10 or otherwise brought
into compliance with section 406.3 of the 2010 ADAAG standards.

(xix) Near Moroccan Bites Tajine, the excessive vertical rise at the top of
the accessible ramp shall be modified to be brought into compliance
with Section 303.2 and 405.4 of the 2010 ADAAG standards.

(xx) Near Moroccan Bites Tajine, the accessible parking space shall
include a proper identification sign or otherwise brought into
compliance with section 502.6 of the 2010 ADAAG standards.

(xxi) Near Unit 5704, the access aisle to the accessible parking space shall
be made level with respect to the presence of an accessible ramp in the
access aisle or otherwise brought into compliance with section 502.4 of
the 2010 ADAAG standards. In addition, the accessible curb ramp shall
be modified to correct any improper protrusion into the access aisle of

the accessible parking space or to otherwise be brought into compliance

with section 406.5 of the 2010 ADAAG Standards.

(xxii) Near Unit 5704, the accessible parking space shall include a proper
identification sign or otherwise brought into compliance with section
502.6 of the 2010 ADAAG standards.

(xxiii) (intentionally deleted).

(xxiv) Near the separate building, the accessible parking space shall be
modified to include a proper identification sign or otherwise brought

into compliance with section 502.6 of the 2010 ADAAG standards.
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(xxv) The Defendant shall modify its policy of placing parking stops in the
access aisles at the Property, specifically as it pertains to the access aisle
of the accessible parking space nearest the northern part the Property
such that it would not promote parking in such access aisle(s) or
otherwise brought into compliance with section 502.3.3 of the 2010
ADAAG standards.

(xxvi) Near the cell phone store in the corner of the Property, the access
aisle to the accessible parking space shall be made level with respect to
the presence of an accessible ramp in the access aisle or otherwise
brought into compliance with section 502.4 of the 2010 ADAAG
standards. In addition, the accessible curb ramp shall be modified so as
to not improperly protrude into the access aisle of the accessible parking
space or otherwise be brought into compliance with section 406.5 of the
2010 ADAAG Standards.

(xxvii)Near the cell phone store in the corner of the Property, the accessible
parking space shall be modified to include a properly marked access
aisle or otherwise be brought into compliance with section 502.3.3 of
the 2010 ADAAG standards.

(xxviii) Near the cell phone store in the corner of the Property, the
accessible parking space shall be modified to correct any excessive

vertical rises and be made level or otherwise in compliance with

Sections 303.2 and 502.4 of the 2010 ADAAG standards.

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(xxix) Near the cell phone store in the corner of the Property, any excessive
vertical rise along the accessible ramp shall be modified or otherwise
brought into compliance with Section 303.2 and 405.4 of the 2010
ADAAG standards.

(xxx) Near the cell phone store in the corner of the Property, the accessible
parking space shall be modified to include a proper identification sign or
otherwise brought into compliance with section 502.6 of the 2010
ADAAG standards.

(xxxi) (Intentionally deleted)

(xxxii) (Intentionally Deleted)

(XxXiil) Near Unit 5768, the access aisle to the accessible parking
space shall be made level with respect to the presence of an accessible
ramp in the access aisle or otherwise be brought into compliance with
section 502.4 of the 2010 ADAAG standards. In addition, the
accessible curb ramp shall be modified to correct any improper
protrusion into the access aisle of the accessible parking space or
otherwise brought into compliance with section 406.5 of the 2010

ADAAG Standards.

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EXHIBIT B

The Parties agree that the following modifications which were requested to be
made by Defendant are Structurally Impracticable due to the unique
characteristics of the property as defined in 28 CFR Sec.36.401.

(i) (viii) The Property shall be modified to include an
accessible route connecting accessible facilities, accessible
elements and/or accessible spaces, specifically with
reference to the presence of stairs in the corner of the
Property or to otherwise be brought into compliance with
section 206.2.2 of the 2010 ADAAG standards.

(ii) (xxiii) The Property shall be modified to include an
accessible route connecting accessible facilities, accessible

elements and/or accessible spaces of the Property,

specifically as it pertains to the presence of stairs with no

nearby ramp between Moroccan Bites Tajine and Unit
5724 or otherwise brought into compliance with section
206.2.2 of the 2010 ADAAG standards.

(iii) (xxxi) ) Between Units 6178 and 5772, the walking
surfaces of the accessible route shall be modified to
correct any slope in excess of 1:20 or otherwise brought
into compliance with section 403.3 of the 2010 ADAAG

standards. As the accessible route is in excess of 1:20, it
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shall be considered an accessible ramp due to its total rise
greater than six (6) inches and shall include handrails in
compliance with section 505 of the 2010 ADAAG
standards, as well as section 405.8 of the 2010 ADAAG
Standards.

(iv) (xxxii) At Unit 5772, the doorway of the accessible
entrance shall be made level or otherwise brought into
compliance with section 404.2.4.4 of the 2010 ADAAG

standards.

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CERTIFICATE OF SERVICE
WE HEREBY CERTIFY, a true and correct copy of the above and foregoing has been
filed electronically the Clerk of the Court using CM/ECF/system on this 24" day of May,
2021.

/s/_ Dennis R. Kurz
Dennis R. Kurz
